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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
AL MERIA ROBERTS                                                  CASE NUMBER

                                                                                        CV 21-00386 CAS
                                                   PLAINTIFF(S)
                            v.

AFFINITIV, INC., ET AL.                                                       ORDER RETURNING CASE
                                                                                FOR REASSIGNMENT
                                                 DEFENDANT(S).



   IT IS ORDERED that the above-entitled case is hereby returned to the Clerk for random reassignment
pursuant to the provisions of General Order 19-03.




      February 1, 2021
      Date                                                  United States District Judge



                                        NOTICE TO COUNSEL FROM CLERK



  This case has been reassigned to Judge                 Otis D. Wright, II           for all further proceedings.
      Pursuant to General Order 19-10, all discovery matters that are or may be referred to a magistrate judge are
  hereby reassigned from Magistrate Judge                                          to Program Magistrate Judge
                                        .
  On all documents subsequently filed in this case, please substitute the initials        ODW         after the case
  number in place of the initials of the prior judge so that the case number will read 2:21-cv-00386 ODW(GJSx)     .
  This is very important because documents are routed to the assigned judge by means of the initials.




cc:       Previous Judge   Statistics Clerk

CV-89 (11/19)                                 ORDER RETURNING CASE FOR REASSIGNMENT
